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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         8:16-BK-06874 MGW                                                Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                 Filed (f) or Converted (c): 07/12/17 (c)
                                                                                      §341(a) Meeting Date:       08/10/17
Period Ending:       03/31/20                                                         Claims Bar Date:            11/08/17

                                1                                    2                       3                          4                  5                    6

                       Asset Description                          Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                   Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                 and Other Costs)                                                Remaining Assets

 1       Sun Trust Bank - Checking Acct.                             2,883.06                     2,883.06                                 9,118.45                    FA
          Initial Schedules, Item 3.1
         (Dkt. 38)

 2       Accounts Receivables - 90 days old or less               273,383.45                          0.00                                     0.00                    FA
           Initial Schedules, Item 11
         (Dkt. 38)

 3       Finished Goods/Misc. Parts                               212,661.00                          0.00                                27,339.50                    FA
           Initial Schedules, Item 21
         (Dkt. 38)

 4       Office Furniture                                           25,000.00                         0.00                                     0.00                    FA
           Initial Schedules, Item 39
         (Dkt. 38)

 5       2013 Denali Yukon, VIN 1GKS1EEF1DR36547                    31,241.00                    17,191.67                                20,501.86                    FA
           Initial Schedules, Item 47.1
         (Dkt. 38)

 6       2001 Ford F-550, VIN 1FDAF56F21EBO7384                      8,723.14                     8,723.14                                 3,700.00                    FA
           Initial Schedules, Item 47.2
         (Dkt. 38)

 7       2005 Ford F-550 Box Truck, VIN 1FDAF56065EA87686           11,724.22                    11,724.22                                 3,300.00                    FA
           Initial Schedules, Item 47.3
         (Dkt. 38)

 8       2002 Ford F--250 Super Duty (weeds growing)                 5,995.18                     5,995.18                                 1,600.00                    FA
           Initial Schedules, Item 47.4
         (Dkt. 38)

                                                                                                                                      Printed: 04/20/2020 10:16 AM   V.14.66
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         8:16-BK-06874 MGW                                                   Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                    Filed (f) or Converted (c): 07/12/17 (c)
                                                                                         §341(a) Meeting Date:       08/10/17
Period Ending:       03/31/20                                                            Claims Bar Date:            11/08/17

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                       Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                                Remaining Assets

 9       2013 Ford F-150, VIN 1FTFW1CT3DFA87061                         6,594.24                     5,000.00                                19,000.00                    FA
           Initial Schedules, Item 47.5
         (Dkt. 38)
         Scheduled as a 2003 Ford F0150 but typographical error;
         vehicle is a 2013 Ford F-150

10       2014 Cadillac Escalade, VIN 1GYS4JEF6ER207151                 42,000.00                    36,266.23                                23,750.00                    FA
           Initial Schedules, Item 47.6
         (Dkt. 38)

11       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA

12       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA

13       VOID: DUPLICATE OF ASSET 3                                    31,119.40                    31,119.40                                     0.00                    FA

14       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA

15       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA

16       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA

17       Elumatec CNC                                                161,920.09                     11,414.81                                     0.00                    FA
           Initial Schedules, Item 50
         (Dkt. 38)

18       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA
19       VOID: DUPLICATE OF ASSET 3                                         0.00                         0.00                                     0.00                    FA

20       CAUSE OF ACTION AGAINST CLEAR GLASS (u)                       Unknown                       6,000.00                                 6,000.00                    FA

21       ADV. 17-860 AVOIDANCE ACTION AG BECKER                        Unknown                      28,000.00                                30,000.00                    FA
         POLIAKOFF (u)

                                                                                                                                         Printed: 04/20/2020 10:16 AM   V.14.66
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        8:16-BK-06874 MGW                                                     Trustee: (290520)           DAWN A. CARAPELLA
Case Name:          FLORIDA GLASS OF TAMPA BAY, INC.                                      Filed (f) or Converted (c): 07/12/17 (c)
                                                                                          §341(a) Meeting Date:       08/10/17
Period Ending:      03/31/20                                                              Claims Bar Date:            11/08/17

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                       Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                     and Other Costs)                                                Remaining Assets

           2/7/18 - Motion to Compromise (Dkt. 284)
         3/6/18 - Order granting Motion to Compromise (Dkt. 285)

22       AVOIDANCE ACTION AGAINST BUCHANON                              Unknown                      11,000.00                                 5,000.00                    FA
         INGERSOL (u)
           12/22/17 - Motion to Compromise (Dkt. 270)
         1/18/18 - Order granting Motion to Approve Compromise
         (Dkt. 277)

23       2004 Ford F150 XLT (u)                                         Unknown                       3,000.00                                 2,600.00                    FA

24       2008 Ford Explorer 5-Dr SUV (u)                                Unknown                       3,000.00                                 3,750.00                    FA

25       2000 Ford F250 XL (u)                                          Unknown                       3,000.00                                 1,100.00                    FA

26       COMPROMISE W/ HOLDER CONSTRUCTION (u)                          Unknown                       7,500.00                                 7,500.00                    FA
           12/26/17 - Motion to Compromise (Dkt. 271)
         1/29/18 - Order granting Motion to Compromise (Dkt. 282)

27       VOID: DUPLICATE OF ASSET 21 (u)                                Unknown                           0.00                                     0.00                    FA

28       AVOIDANCE ACTIONS AG. MURACO ENTITIES (u)                      Unknown                 1,000,000.00                                  28,000.00                    FA
          1/24/19 - Order approving Compromise (Dkt. 313)

29       CLAIM RE GOLDEN NUGGET CASINO PROJECT (u)                      Unknown                           1.00                                 7,500.00                    FA

30       Other Machinery, and equipment                               178,720.76                          0.00                                     0.00                    FA
           Initial Schedules, Item 50
         (Dkt. 38)
         SOLD AT AUCTION WITH ASSET #3

31       CLAIM AGAINST HENSEL PHELPS - NEW AUSTIN                       Unknown                           1.00                                 2,000.00                    FA
         CENTRAL

                                                                                                                                          Printed: 04/20/2020 10:16 AM   V.14.66
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                                                          Individual Estate Property Record and Report
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Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                              Filed (f) or Converted (c): 07/12/17 (c)
                                                                                                   §341(a) Meeting Date:       08/10/17
Period Ending:       03/31/20                                                                      Claims Bar Date:            11/08/17

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                       Asset Description                                  Petition/               Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                    Unscheduled          (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                           Values               Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                              and Other Costs)                                                Remaining Assets

           Initial Schedules, Item 74 (Dkt. 38)(scheduled for
         unknown amt.)
         1/24/19 - Order approving Compromise (Dkt. 313)
         Claim for Delay Damages
         re: New Austin Central Library Project

32       CLAIM AGAINST KAWNEER CO FOR DEFECTIVE                              Unknown                               1.00                                 7,500.00                    FA
         PRODUCT
           Initial Schedules, Item 74 (Dkt. 38)
         Re: Golden Nuggett Casino Project in Louisiana
         8/30/18 - Motion to Compromise (Dkt. 293)

33       Accounts Receivables - Over 90 days old                             Unknown                     1,054,114.86                                       0.00                    FA
           Initial Schedules, Item 11 (Dkt. 38); scheduled value
         unknown; face amt. listed as $1,054,114.86

34       COA - ABF FREIGHT - DAMAGE GDS IN TRANSIT                            5,532.88                         5,532.88                                 1,487.96                    FA
          Amended Schedules, Item 74 (Dkt. 46)
         Motion to Compromise Dkt. 303;
         Order granting Motion to Compromise Dkt. 307

35       AVOIDANCE CLAIM AG. LEON WILLIAMSON (u)                                  0.00                        21,000.00                                 5,000.00                    FA
          1/24/19 - Order approving Compromise (Dkt. 313)

35       Assets           Totals (Excluding unknown values)               $997,498.42                   $2,272,468.45                               $215,747.77                   $0.00


     Major Activities Affecting Case Closing:
              status API's termination of Florida Glass as 401k plan administrator/sponsor
              Estate tax return

                                                                                                                                                   Printed: 04/20/2020 10:16 AM   V.14.66
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                                                    Individual Estate Property Record and Report
                                                                     Asset Cases
Case Number:     8:16-BK-06874 MGW                                                           Trustee: (290520)           DAWN A. CARAPELLA
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                                                                                             §341(a) Meeting Date:       08/10/17
Period Ending:   03/31/20                                                                    Claims Bar Date:            11/08/17

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                    Asset Description                                 Petition/            Estimated Net Value             Property            Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,       Abandoned            Received by       Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                    Remaining Assets

          7/12/17 - Order and Notice Converting Chapter 11 Case to Chapter 7; appointing D. Carapella as Trustee (Doc. No.185);
          7/13/17 - Application to Employ Johnson Pope as counsel (Dkt. 186);
          7/14/17 - Email to UST to reschedule 341 meeting for date off Trustee's regular calendar;
          7/14/17 - Order approving Application to Employ Johnson Pope (Dkt. 187);
          7/14/17 - T's Motion to Substitute as Party Plaintiff in Place of Florida Glass of Tampa Bay, Inc. (Dkt. 13);
          7/17/17 - T went to premises to inspect vehicles and inventory;
          7/18/17 - Notice of Appearance in Distr. Court Case, Bank of America v. Florida Glass, et al., Case No. 8:16-cv-2104-T-27AAS (Dist. Ct. Dkt. 123);
          7/19/17 - ADV. PRO. 17-218: Order granting Motion to Substitute Party Plaintiff: D. Carapella, Trustee substituted as Plaintiff (Adv. Dkt. 15);
          7/21/17 - Trustee conference at premises with Debtor's counsel, Debtor's principals, and Trustee's counsel;
          7/21/17 - Application to Employ Bay Area Auctioneers (Dkt. 194)
          7/24/17 - Order approving Application to Employ Auctioneer (Dkt. 195); Cert. of Serv. (Dkt. 196);
          7/25/17 - Emergency Motion to Sell Estate's Rights to Adversary Proceeding 17-218 against Clear Glass (Dkt. 197); Certificate of Necessity (Dkt. 189);
          7/25/17 - Motion to Limit Notice (Dkt. 199);
          7/25/17 - Hearing scheduled on Emergency Motion to Sell for 8/2/17 @ 11:00 a.m.; 7/26/17 - Notice of Hearing on Emergency Motion to Sell cause of action (Dkt.
          201);
          7/26/17 - Motion to Sell Vehicles and Inventory free and clear of liens (Dkt. 200);
          7/26/17 - Bay Area Auction Services picked up vehicles and inventory; Escalade was not turned over and is subject to dispute as to ownership;
          7/26/17 - Notice of Hearing on Motion to Limit Notice; hearing scheduled for 8/17/17 at 9:30 a.m. (Dkt. 202);
          7/28/17 - Hearing scheduled for 8/17/17 at 9:30 a.m.;
          8/3/17 - Order granting Motion to Sell Estate's Rights to Adv. Pro. 17-218 (Dkt. 211);
          8/3/17 - Order granting in part, denying in part, Motion for Turnover of Property of the Estate (Dkt. 215);
          8/3/17 - Notice of Assets;
          8/4/17 - T deposited funds from closing out SunTrust DIP account;
          8/10/17 - Adv. Pro. 17-218 against Clear Glass - Mediator's Report of Impasse (Dkt. 217);
          8/17/17 - Hearing held on Motion to Sell Property of Estate and Motion to Limit Notice; PRO MEMO: both Motions granted; T authorized to sell vehicles that are titled
          or registered in the name of the Debtor;
          8/18/17 - Order granting Motion to Limit Notice Under Rule 2002(h) (Dkt. 221);

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                                                     Individual Estate Property Record and Report
                                                                      Asset Cases
Case Number:     8:16-BK-06874 MGW                                                            Trustee: (290520)           DAWN A. CARAPELLA
Case Name:       FLORIDA GLASS OF TAMPA BAY, INC.                                             Filed (f) or Converted (c): 07/12/17 (c)
                                                                                              §341(a) Meeting Date:       08/10/17
Period Ending:   03/31/20                                                                     Claims Bar Date:            11/08/17

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                    Asset Description                                  Petition/            Estimated Net Value             Property             Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,       Abandoned             Received by       Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a) abandon.        the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                     Remaining Assets

          8/18/17 - 341 Meeting held and concluded;
          8/22/17 - Order Rescheduling Pre-trial Conference re: Carapella v. Clear Glass Mobil Service, Inc. (Dkt. 17);
          8/22/17 - Report and Notice of Intent to Sell Vehicles and inventory of tools and small equipment and supplies (Dkt. 225);
          8/23/17 - Motion to Amend Confirmation Order re: Joint Check (Dkt. 226);
          8/24/17 - Order Granting Motion to Sell Property of Estate Free and Clear of Liens (Dkt. 228);
          8/24/17 - Order Granting Motion to Modify Confirmation Order re: Joint Checks (Dkt. 229);
          8/31/17 - Application to Employ Accountant, Larry Hyman, CPA (Dkt. 232);
          8/31/17 - Order approving Application to Employ Accountant (Dkt. 233); 9/1/17 - Cert. of Serv. (Dkt. 234); Amended Cert. of Serv. (Dkt. 236);
          9/7/17 - Motion to Compromise with OldCastle Building (Dkt. 237);
          9/16/17 - Auction held;
          9/27/17 - T's counsel sent demand letter to Becker & Poliakopp for unauthorized post-petition transfers from DIP account;
          10/3/17 - T received auction proceeds;
          10/6/17 - Order granting Motion to Compromise with Old Castle Building (Dkt. 242);
          10/21/17 - Bill of Sale for 2000 Ford F250, VIN #1FTNX20L2YEC30046 (Dkt. 245);
          10/21/17 - Bill of Sale for 2013 GMC Yukon, VIN #1GKS1EEF1DR365647 (Dkt. 246);
          10/21/17 - Bill of Sale for 2013 Ford F150, VIN #1FTFW1CT3DFA87061 (Dkt. 247);
          10/21/17 - Bill of Sale for 2008 Ford Explorer, VIN #1FMEU64E38UA46618 (Dkt. 248);
          10/21/17 - Bill of Sale for 2005 F550, VIN #1FDAF56P65EA87686 (Dkt. 249);
          10/21/17 - Bill of Sale for 2002 Ford F250, VIN #1FTNX20LX2ED05308 (Dkt. 250);
          10/21/17 - Bill of Sale for 2004 Ford F150, VIN #1FTRX12W94NA84290 (Dkt. 251);
          10/21/17 - Bill of Sale for 2014 Cadillac Escalade, VIN #1GYS4JEF6ER207151 (Dkt. 252);
          10/21/17 - Bill of Sale for 2001 Ford F550, VIN #1FDAF56F21EB07384 (Dkt. 253);
          10/25/17 - Email to accountant re: status of review of 2016 tax return;
          10/30/17 - Becker and Poliakoff failed to respond to demand letter; T filing adversary proceeding;
          11/2/17 - T spoke with Ally Financial for current payoff for GMC Yukon Vehicle; T paid Ally in accordance with the 8/24/17 Order authorizing sale free and clear of liens
          and payment to properly perfected lienholders (Dkt. 228);
          11/2/17 - Objection to Secured Claim No. 4 of Ally Bank (should be in reduced amount of $14,049.23 (Dkt. 254);

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                                                    Individual Estate Property Record and Report
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Ref. #                                                                                    and Other Costs)                                                 Remaining Assets

          11/2/17 - Amended Objection to Secured Claim No. 4 (to correct petition date)(Dkt. 255);
          11/2/17 - Objection to Secured Claim No. 3 of Ally Financial (lien released)(Dkt. 256);
          11/2/17 - Notice of Sale of Property of Estate (Inventory of Used Tools and Small Equipment)(Dkt. 257);
          11/7/17 - T's Limited Response to Leon Williamson's Fee Application - T requested deferment to end of case (Dkt. 258);
          Clear Glass Adv. Pro - Pre-trial conf. scheduled for 11/15/17 @ 9:30 a.m.; Trial scheduled for 4/23/18 @ 9:30 a.m.;
          11/15/17 - Pre-Trial conf. held in Clear Glass Adv. Pro. - Old Republic's Motion to Intervene granted;
          12/5/17 - ADV. PRO. 17-860 commenced against Becker & Poliakoff and Conrad Lazo to avoid post-petition transfers;
          12/6/17 - Application to Pay Auctioneer (Dkt. 261);
          12/6/17 - Amended Notice of Sale of Inventory and Vehicles (Dkt. 262);
          12/6/17 - Final draft Motion to Authorize Disbursement to Secured Creditor and Approve Carve-Out sent to A. Lim;
          12/6/17 - Order sustaining Objection and disallowing Claim No. 3 (Dkt. 263); 12/7/17 - Cert of Service (Dkt. 264);
          12/6/17 - proposed Order sustaining Amended Objection and allowing Claim No. 4 as secured claim in reduced amount (Order No. 195299);
          12/7/17 - Motion for Authority to Make Disbursements to Secured Creditor, bank of America, Approve Consensual Carve-Outs to Estate (Dkt. 265);
          12/7/17 - Notice of Hearing on Application to Pay Bay Area Auction and on Motion to Make Disbursements to Secured Creditor and Approve Carve-outs from sale of
          inventory and sale of Cadillac Escalade (Dkt. 266) - HEARING SCHEDULED FOR 1/11/18 @ 9:30 A.M.
          12/8/17 - Order sustaining Amended Objection to Claim No. 4 of Ally Bank (Dkt. 267); Cert. of Serv. (Dkt. 268);
          12/20/17 - Subpoena to Pasco Iron re: purchases from Florida Glass;
          12/21/17 - T sent Third Party Subpoena to Pasco Iron and Metal, LLC (Dkt. 269);
          12/22/17 - Motion to Compromise preference claims against Buchanon Ingersoll (Dkt. 270);
          12/26/17 - Motion to Compromise claims against Holder Construction Group, LLC (Dkt. 271);
          1/11/18 - Hearing held on Motion to Disburse auction proceeds and Application to Pay Auctioneer; Ruling: Granted;
          1/17/18 - Order approving Application to Pay Bay Area (Dkt. 275);
          1/18/18 - Order granting Motion to Approve Compromise with Buchanan Ingersoll (Dkt. 277);
          1/19/18 - Order granting Motion for Approval to Make Disbursements to Bank of America, Approving Carve-Out and Approve Expenses from Gross Sale Proceeds of
          Cadillac (Dkt. 279);
          1/19/18 - Order deferring consideration of Leon Williamson's Fee Application until end of case (Dkt. 280);
          1/29/18 - Order granting Motion to Comrpomise Controversy with Holder Construction Group, LLC (Dkt. 282);

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                                                    Individual Estate Property Record and Report
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                                                                   Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                                Remaining Assets

          2/7/18 - T made disbursement per Order approving disbursements (Dkt. 265);
          2/7/18 - Motion to Compromise Adv. Pro. 17-860 ag. Becker & Poliakoff (Dkt. 284);
          2/9/18 - Follow up email to Buchanan Ingersoll re: settlement funds;
          2/9/18 - Follow up email to A. Lim re: status of settlement funds from Holder;
          2/17/18 - T received settlement funds re: compromise with Holder Construction Group, LLC;
          2/22/18 - T received settlement funds re: compromise with Buchanan Ingersoll;
          2/26/18 - T received certain records;
          3/6/18 - Order granting Motion to Compromise Adv. Pro. 17-860 w/ Becker & Poliakoff (Dkt. 285);
          3/14/18 - T received settlement funds re: compromise with Becker & Poliakoff;
          3/28/18 - Clear Glass Adv. Pro. - Status Conference held: Motion to Abate Portion of Trial granted; trial rescheduled to 9/24/18 - 9/28/18 @ 9:30 a.m.;
          4/17/18 - T received funds from API re: compromise of controversy re: Golden Nugget Casino project (Lim/ Ali drafting motion to compromise);
          5/14/18 - Meeting with counsel and counsel for API re: outstanding matters;
          6/21/18 - Motion to Extend Deadline for Avoidance Actions (Dkt. 288);
          7/6/18 - Mtg. w/ counsel re: case review;
          7/17/18 - Order granting Motion to Extend Deadline for Avoidance Actions (Dkt. 290);
          7/23/18 - Email to Lara Fernandez and John Goldsmith re: outstanding documents;
          7/23/18 - T emailed signed Golden Nugget settlement agreement to Lara Fernandez; mailed original to Lara;
          8/30/18 - T signed settlement agreement with Kawneer re: Golden Nugget Casino Project;
          8/30/18 - Motion to approve Compromise Among Bankruptcy Estate, Golden Nugget Casino, W.G. Yates & Sons Construction Company, and Old Republic Surety
          Company (Dkt. 292);
          8/30/18 - Motion to approve Compromise Among Bankruptcy Estate, API, Kawneer Company, Inc. and Old Republic Surety Company (Dkt. 293);
          9/27/18 - Order approving Compromise Among Bankruptcy Estate, Go,lden Nugget, Yates and Old Republic (Dkt. 296);
          9/27/18 - Order approving Compromise with API, Kawneer and Old Republic (dkt. 297);
          10/13/18 - T received settlement funds from Kawneer;
          11/15/18 - Motion to Compromise Controversy with ABF Freight System, Inc. (Dkt. 301);
          11/16/18 - Order Abating Motion to Compromise with ABF Freight System until correct negative notice legend (Dkt. 302);
          11/16/18 - Amended motion to Compromise Controversy with ABF Freight System (to correct negative notice legend (Dkt. 303);

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                                                    Individual Estate Property Record and Report
                                                                     Asset Cases
Case Number:     8:16-BK-06874 MGW                                                       Trustee: (290520)           DAWN A. CARAPELLA
Case Name:       FLORIDA GLASS OF TAMPA BAY, INC.                                        Filed (f) or Converted (c): 07/12/17 (c)
                                                                                         §341(a) Meeting Date:       08/10/17
Period Ending:   03/31/20                                                                Claims Bar Date:            11/08/17

                            1                                          2                        3                          4                   5                     6

                    Asset Description                              Petition/            Estimated Net Value             Property          Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                Unscheduled       (Value Determined By Trustee,       Abandoned          Received by       Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.     the Estate        Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

          12/5/18 -Motion to Approve Compromise with API, Joseph Muraco, et al (Dkt. 304);
          12/11/18 - Old Republic's Objection to Motion to Compromise with API (Dkt. 305);
          12/13/18 - Second Agreed Motion to Extend Time to File Actions and Adv. Pros. (Dkt. 306);
          12/17/18 - Order granting Motion to Approve Compromise with ABF Freight System (Dkt. 307);
          12/19/18 - Notice of Hearing scheduled for 1/16/19 @ 10:30 a.m. on Motion to Compromise with API (Doc. No. 309);
          12/20/18 - Order granting Second Agreed Motion to Extend Time to File Avoidance Actions (Dkt. 310); Deadline extended to 60 days after ruling on Motion to
          Compromise;
          1/6/19 - T received settlement funds from compromise with ABF Freight System;
          1/16/19 - Hearing held on Motion to Compromise with API; Ruling: Granted;
          1/24/19 - Order granting Motion to Compromise with API, Muraco and Mullan (Dkt. 313);
          2/14/19 - Order approving Leon Williamson Fee Application (allowing Ch. 11 administrative expense) (Dkt. 315);
          2/18/19 - T received settlement funds re: compromise with Muraco entities, Leon Williamson and Hensel Phelps; (see Dkt. 313);
          8/22/19 - Email to Adam Alpert circulating ddraft Motion to Approve Carve-Out and Pay Bank of America;
          9/5/19 - T's Second Motion to Make Disbursement to Secured Creditor and Approve Carve-out to Estate (Dkt. 317);
          9/12/19 - Order granting Motion to Allow Disbursement to Secured Creditor, Bank of America and Carve-0ut to Estate (Dkt. 318);
          9/19/19 - Johnson Pope's Second Application for Final Compensation re: Carve-Out (Dkt. 320);
          10/18/19 - Order approving Johnson Pope Fee Application re: carve-out (Dkt. 321);
          10/22/19 - T and Lim left tele. message for Jay Trezevant;
          10/22/19 - T contacted US Dept. of Labor, Employee Benefits Security Administration re: status of 401k plan; Tele. conf. with John Goldsmith re: same;
          10/22/19 - T paid Bank of America and Trustee in accordance with Order granting 2nd Motion to Allow Disbursement to Secured Creditor and Carve-Out to Estate
          (Dkt. 318);
          11/2/19 - T paid Johnson Pope in accordance with Order approving Second Fee Application for Carve-out (Dkt. 321);
          11/11/19 - Johnson Pope's Third Interim Fee Application (Dkt. 324);
          11/5/19 - T's Motion for Turnover of Records Related to D's 401k Profit Sharing Plan (Dkt. 323);
          11/6/2020 - Email from J. Goldsmith, counsel for API, providing certain information regarding 401k plan;
          11/11/2020 - Follow up email to J. Goldsmith re: same;
          12/10/19 - Order granting Motion for Turnover of Records Related to D's 401k Profit Sharing Plan (Dkt. 325); Cert. of Serv. (Dkt. 326);

                                                                                                                                           Printed: 04/20/2020 10:16 AM   V.14.66
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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       8:16-BK-06874 MGW                                                          Trustee: (290520)           DAWN A. CARAPELLA
Case Name:         FLORIDA GLASS OF TAMPA BAY, INC.                                           Filed (f) or Converted (c): 07/12/17 (c)
                                                                                              §341(a) Meeting Date:       08/10/17
Period Ending:     03/31/20                                                                   Claims Bar Date:            11/08/17

                              1                                            2                         3                          4                  5                    6

                      Asset Description                                Petition/            Estimated Net Value              Property         Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

            12/18/19 - Order approving Johnson Pope's Fee Application (Dkt. 327);
            1/2/2020 - T paid counsel pursuant to Order approving Fee Application (Dkt. 327);
            2/24/2020 - T spoke with IRS re: Claim No. 5;
            2/24/2020 - Email to M. Braswell re: Claim Nos. 25, 26, 28 and 31; Response- Claims being withdrawn;
            3/31/2020 - Email to L. Fernandez re: 401k plan;
            3/31/2020 - Objection to Claim Nos. 25, 26 and 28 of District Council 78 Political Action Committee (Dkt. 328);
            3/31/2020 - Objection to Claim No. 21 of District Council 77 as amended by Claim No. 34 (Dkt. 329);
            3/31/2020 - Email to counsel for principals of D's for copy of D's 2016 tax return;
            3/31/2020 - Documents forwarded to accountant for estate tax return;
            3/31/2020 - proposed Agreed Orders sustaining Objections circulated to M. Braswell, counsel for Claimants;
            4/1/2020 - Agreed Order sustaining Objection and Disallowing Claim No. 31 (Dkt. 330); Cert. of Serv. (Dkt. 331);
            4/3/2020 - Agreed Order sustaining Objection and Disallowing Claim Nos. 25, 26 and 28 (Dkt. 332); Cert. of Serv. (Dkt. 333)




    Initial Projected Date Of Final Report (TFR): August 10, 2018                         Current Projected Date Of Final Report (TFR): May 31, 2020




                                                                                                                                              Printed: 04/20/2020 10:16 AM   V.14.66
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                                                                                   Form 2                                                                                        Page: 1
                                                              Cash Receipts And Disbursements Record
Case Number:         8:16-BK-06874 MGW                                                                 Trustee:            DAWN A. CARAPELLA (290520)
Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                                  Bank Name:          Mechanics Bank
                                                                                                       Account:            ******5066 - Checking Account
Taxpayer ID #:       **-***1976                                                                        Blanket Bond:       $26,699,000.00 (per case limit)
Period Ending:       03/31/20                                                                          Separate Bond:      N/A

   1           2                           3                                         4                                           5                     6                     7
 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From                  Description of Transaction             T-Code            $                    $             Account Balance
07/28/17      {20}        API Commercial Installation, Inc.     offer to purchase cause of action against Clear 1249-002             6,000.00                                    6,000.00
                                                                Glass Adv. 17-218 (Em Motion Dkt. 197)
08/04/17       {1}        Florida Glass of Tampa Bay, Inc.      Bank balance in SunTrust DIP account          1129-002               9,118.45                                15,118.45
08/31/17                  Rabobank, N.A.                        Bank and Technology Services Fee              2600-000                                      19.40            15,099.05
09/29/17                  Rabobank, N.A.                        Bank and Technology Services Fee              2600-000                                      20.99            15,078.06
10/03/17                  Bay Area Auction Services, Inc.       Auction proceeds (8/22/17 Sale Notice Dkt.                      102,939.50                                  118,017.56
                                                                225)
              {10}                                                Auction proceeds re:           23,750.00    1129-002                                                      118,017.56
                                                                  Escalade (Sale Notice
                                                                  Dkt. 225)
               {5}                                                Auction proceeds re:           20,500.00    1129-002                                                      118,017.56
                                                                  Yukon (Sale Notice Dkt.
                                                                  225)
               {9}                                                Auction proceeds re:           19,000.00    1129-002                                                      118,017.56
                                                                  2013 Ford F150 (Sale
                                                                  notice Dkt. 225)
              {23}                                                Auction proceeds re:             2,600.00   1229-002                                                      118,017.56
                                                                  2004 Ford F150 XLT
              {24}                                                Auction proceeds re:             3,750.00   1229-002                                                      118,017.56
                                                                  2008 Ford Explorer SUV
                                                                  (Sale Notice Dkt. 255)
              {25}                                                Auction proceeds re:             1,100.00   1229-002                                                      118,017.56
                                                                  2000 Ford F250 XL (sale
                                                                  notice Dkt. 255)
               {8}                                                Auction proceeds re:             1,600.00   1129-002                                                      118,017.56
                                                                  2002 Ford F250 XLSD
                                                                  (sale notice Dkt. 255)
               {7}                                                2005 Ford F550 XL Box            3,300.00   1129-002                                                      118,017.56

                                                                                                         Subtotals :           $118,057.95                 $40.39
  {} Asset reference(s)                                                                                                                           Printed: 04/20/2020 10:16 AM     V.14.66
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                                                                                  Form 2                                                                                       Page: 2
                                                            Cash Receipts And Disbursements Record
Case Number:         8:16-BK-06874 MGW                                                                 Trustee:          DAWN A. CARAPELLA (290520)
Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                                  Bank Name:        Mechanics Bank
                                                                                                       Account:          ******5066 - Checking Account
Taxpayer ID #:       **-***1976                                                                        Blanket Bond:     $26,699,000.00 (per case limit)
Period Ending:       03/31/20                                                                          Separate Bond:    N/A

   1           2                           3                                        4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                       Receipts          Disbursements            Checking
  Date      Check #              Paid To / Received From               Description of Transaction             T-Code           $                    $               Account Balance
                                                                Truck (sale notice Dkt.
                                                                255)
               {3}                                              Auction proceeds re:            27,339.50     1129-002                                                    118,017.56
                                                                assorted tools, equip.,
                                                                supplies (sale notice Dkt.
                                                                255)
10/21/17       {6}        Bay Area Auction Services, Inc.     Sale proceeds re: 2001 Ford F550 (Sale          1129-002             3,700.00                               121,717.56
                                                              Notice Dkt. 225)
10/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee                2600-000                                    157.27          121,560.29
11/02/17      101         Ally Bank                           8/24/17 O/auth. sale of Yukon                   4210-000                               14,049.33            107,510.96
                                                              1GKS1EEF1DR365647 and payment to
                                                              secured creditor (Dkt. 228)
11/30/17                  Rabobank, N.A.                      Bank and Technology Services Fee                2600-000                                    160.70          107,350.26
12/22/17       {5}        Ally                                Refund from payment to secured creditor         1129-002                 1.86                               107,352.12
                                                              satisfying lien against GMC Yukon
12/29/17                  Rabobank, N.A.                      Bank and Technology Services Fee                2600-000                                    149.26          107,202.86
01/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                2600-000                                    169.61          107,033.25
02/07/18      102         Bay Area Auction Services, Inc.     12/6/17 Application(Dkt. 261); 1/17/18 Order    3610-002                                   2,733.95         104,299.30
                                                              (Dkt. 275); 1/19/18 O (Dkt. 279)
02/07/18      103         Bay Area Auction Services, Inc.     12/6/17 Application (Dkt. 261); 1/17/18 Order   3620-002                                   3,908.00         100,391.30
                                                              (Dkt. 275); 1/19/18 Order (Dkt. 279)
02/07/18      104         Bay Area Auction Services, Inc.     12/6/17 Application (Dkt. 261); 1/17/18 Order   3610-002                                   1,187.50          99,203.80
                                                              (Dkt. 275); 1/19/18 Order (Dkt. 279)
02/07/18      105         Bay Area Auction Services, Inc.     12/6/17 Application (Dkt. 261); 1/17/18 Order   3620-002                                    434.30           98,769.50
                                                              (Dkt. 275); 1/19/18 O (Dkt. 279)
02/07/18      106         Bay Area Auction Services, Inc.     12/6/17 Application (Dkt. 261); 1/17/18 Order   3610-000                                   2,777.50          95,992.00
                                                              (Dkt. 275)
02/07/18      107         Bay Area Auction Services, Inc.     12/6/17 Application (Dkt. 261); 1/17/18 Order   3620-000                                   2,564.95          93,427.05
                                                                                                         Subtotals :            $3,701.86           $28,292.37
  {} Asset reference(s)                                                                                                                         Printed: 04/20/2020 10:16 AM    V.14.66
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                                                                                    Form 2                                                                                        Page: 3
                                                              Cash Receipts And Disbursements Record
Case Number:         8:16-BK-06874 MGW                                                                   Trustee:           DAWN A. CARAPELLA (290520)
Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                                    Bank Name:         Mechanics Bank
                                                                                                         Account:           ******5066 - Checking Account
Taxpayer ID #:       **-***1976                                                                          Blanket Bond:      $26,699,000.00 (per case limit)
Period Ending:       03/31/20                                                                            Separate Bond:     N/A

   1           2                           3                                          4                                           5                     6                     7
 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                   Description of Transaction              T-Code           $                    $               Account Balance
                                                                (Dkt. 275)
02/07/18      108         Johnson Pope Bokor Ruppel &           12/4/17 - Order approving Fee App (Dkt. 260); 3210-002                                      6,028.62          87,398.43
                          Burns, LLP                            1/19/18 Order approving Carve-out (Dkt 279)
02/07/18      109         Bank of America, N.A.                 1/19/18 - Order granting Motion for Authority to 4210-002                               14,773.35             72,625.08
                                                                Make Disbursement (Dkt. 279)
02/07/18      110         American Products, Inc.               10/6/17 Compromise Order re Cadillac (Dkt.       8500-002                                   8,761.68          63,863.40
                                                                241); 1/19/18 Disbursement Order (Dkt. 279)
02/07/18      111         Dawn Carapella, Trustee               12/7/17 Motion to approve carve-out re           2100-002                                    914.76           62,948.64
                                                                inventory sale (Dkt. 265); 1/19/18 Order (Dkt.
                                                                279)
02/07/18      112         Dawn Carapella, Trustee               12/7/17 M/approve expenses re Cadillac (Dkt.                                                 928.60           62,020.04
                                                                265); 1/19/18 Order (Dkt. 279)
                                                                   12/7/17 M/Approve exp.             167.94     2100-000                                                     62,020.04
                                                                   re: Cadillac (Dkt 265);
                                                                   1/19/18 Order Dkt 279
                                                                   12/7/17 M/Carve-out Dkt.           760.66     2100-000                                                     62,020.04
                                                                   265; 1/19/18 Order Dkt
                                                                   279
02/17/18      {26}        Holder Construction Group, LLC        settlement proceeds re: compromise with          1249-002             7,500.00                                69,520.04
                                                                Holder (1/29/18 Order Dkt. 282)
02/22/18      {22}        Buchanan Ingersoll & Rooney PC        settlement proceeds re compromise of             1241-000             5,000.00                                74,520.04
                                                                preference action (M/Compr. Dkt. 270; Order
                                                                Dkt. 277)
02/28/18                  Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                    123.39           74,396.65
03/14/18      {21}        Johnson Pope                          settlement funds re compromise with Becker & 1241-000             30,000.00                                  104,396.65
                                                                Poliakoff (3/6/18 Order Dkt. 285)
03/30/18                  Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                    127.14          104,269.51
04/17/18      {29}        API Commercial Installation, Inc.     Settlement funds from API re: Golden Nugget      1249-002             7,500.00                               111,769.51

                                                                                                           Subtotals :           $50,000.00            $31,657.54
  {} Asset reference(s)                                                                                                                            Printed: 04/20/2020 10:16 AM    V.14.66
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                                                                               Form 2                                                                                      Page: 4
                                                         Cash Receipts And Disbursements Record
Case Number:         8:16-BK-06874 MGW                                                            Trustee:           DAWN A. CARAPELLA (290520)
Case Name:           FLORIDA GLASS OF TAMPA BAY, INC.                                             Bank Name:         Mechanics Bank
                                                                                                  Account:           ******5066 - Checking Account
Taxpayer ID #:       **-***1976                                                                   Blanket Bond:      $26,699,000.00 (per case limit)
Period Ending:       03/31/20                                                                     Separate Bond:     N/A

   1           2                           3                                    4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                   Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From             Description of Transaction             T-Code           $                    $             Account Balance
                                                           project (motion to compromise being drafted)
04/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   148.57           111,620.94
05/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   176.61           111,444.33
06/29/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   154.95           111,289.38
07/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   170.74           111,118.64
08/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   165.15           110,953.49
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                    85.11           110,868.38
10/13/18      {32}        Arconic                          compromise proceeds (9/27/18 O/Compr. Dkt      1149-002             7,500.00                               118,368.38
                                                           297; 8/30/18 Motion Dkt 293)
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   103.31           118,265.07
11/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                    97.20           118,167.87
12/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                    93.88           118,073.99
01/06/19      {34}        ABF Freight                      Settlement funds (12/17/18 Order approving     1149-002             1,487.96                               119,561.95
                                                           Compromise Dkt. 307)
01/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                   107.69           119,454.26
02/18/19                  Trenam Law                       settlement payment per compromise (1/24/19                      35,000.00                                  154,454.26
                                                           Order Dkt. 313)
              {35}                                           settlement payment per           5,000.00    1241-000                                                    154,454.26
                                                             compromise (1/24/19
                                                             Order Dkt. 313)
              {28}                                           settlement payment per         28,000.00     1241-000                                                    154,454.26
                                                             compromise (1/24/19
                                                             Order Dkt. 313)
              {31}                                           settlement payment per           2,000.00    1149-002                                                    154,454.26
                                                             compromise (1/24/19
                                                             Order Dkt. 313)
02/28/19                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                    99.30           154,354.96

                                                                                                     Subtotals :          $43,987.96             $1,402.51
  {} Asset reference(s)                                                                                                                     Printed: 04/20/2020 10:16 AM    V.14.66
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                                                                               Form 2                                                                                     Page: 5
                                                         Cash Receipts And Disbursements Record
Case Number:        8:16-BK-06874 MGW                                                                 Trustee:         DAWN A. CARAPELLA (290520)
Case Name:          FLORIDA GLASS OF TAMPA BAY, INC.                                                  Bank Name:       Mechanics Bank
                                                                                                      Account:         ******5066 - Checking Account
Taxpayer ID #:      **-***1976                                                                        Blanket Bond:    $26,699,000.00 (per case limit)
Period Ending:      03/31/20                                                                          Separate Bond:   N/A

   1           2                           3                                     4                                           5                  6                     7
 Trans.     {Ref #} /                                                                                                     Receipts       Disbursements          Checking
  Date      Check #            Paid To / Received From              Description of Transaction              T-Code           $                 $             Account Balance
03/29/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 122.63           154,232.33
04/30/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 135.21           154,097.12
05/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 130.87           153,966.25
06/28/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 118.10           153,848.15
07/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 139.09           153,709.06
08/30/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 126.33           153,582.73
09/30/19                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                 122.02           153,460.71
10/22/19      113         Bank of America, N.A.            9/12/19 - Order granting 2nd Motion to          4210-002                             12,284.57            141,176.14
                                                           Disburse to Secured Creditor (Dkt. 318)
10/22/19      114         Dawn Carapella, Trustee          9/12/19 - Order granting approval of 2nd        2100-000                                 760.66           140,415.48
                                                           Carve-Out (Dkt. 318)
10/31/19                  Mechanics Bank                   Bank and Technology Services Fee                2600-000                                 138.75           140,276.73
11/02/19      115         Johnson Pope Bokor Ruppel &      CARVE-OUT; 10/18/19 Order approving 2nd         3210-002                             19,627.50            120,649.23
                          Burns, LLP                       Fee App for Carveout (Dkt. 321)
11/02/19      116         Johnson Pope Bokor Ruppel &      CARVE-OUT; 10/18/19 - Order approving 2nd       3220-002                                 265.81           120,383.42
                          Burns, LLP                       Fee App for Carveout (Dkt. 321)
11/29/19                  Mechanics Bank                   Bank and Technology Services Fee                2600-000                                 106.58           120,276.84
12/31/19                  Mechanics Bank                   Bank and Technology Services Fee                2600-000                                 108.74           120,168.10
01/02/20      117         Johnson Pope Bokor Ruppel &      12/18/19 - Order approving Fee Application      3210-000                             61,480.68             58,687.42
                          Burns, LLP                       (Dkt. 327)
01/02/20      118         Johnson Pope Bokor Ruppel &      12/18/19 - Order approving Fee Application      3220-000                                 519.32            58,168.10
                          Burns, LLP                       (Dkt. 327)
01/31/20                  Mechanics Bank                   Bank and Technology Services Fee                2600-000                                  71.29            58,096.81
02/28/20                  Mechanics Bank                   Bank and Technology Services Fee                2600-000                                  44.44            58,052.37
03/31/20                  Mechanics Bank                   Bank and Technology Services Fee                2600-000                                  46.39            58,005.98




                                                                                                       Subtotals :               $0.00         $96,348.98
  {} Asset reference(s)                                                                                                                    Printed: 04/20/2020 10:16 AM    V.14.66
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                                                                          Form 2                                                                                   Page: 6
                                                      Cash Receipts And Disbursements Record
Case Number:        8:16-BK-06874 MGW                                                          Trustee:         DAWN A. CARAPELLA (290520)
Case Name:          FLORIDA GLASS OF TAMPA BAY, INC.                                           Bank Name:       Mechanics Bank
                                                                                               Account:         ******5066 - Checking Account
Taxpayer ID #:      **-***1976                                                                 Blanket Bond:    $26,699,000.00 (per case limit)
Period Ending:      03/31/20                                                                   Separate Bond:   N/A

  1            2                        3                                  4                                          5                  6                     7
Trans.      {Ref #} /                                                                                              Receipts       Disbursements          Checking
 Date       Check #         Paid To / Received From             Description of Transaction           T-Code           $                 $             Account Balance
                                                                       ACCOUNT TOTALS                                215,747.77         157,741.79            $58,005.98
                                                                           Less: Bank Transfers                            0.00               0.00
                                                                       Subtotal                                      215,747.77         157,741.79
                                                                           Less: Payments to Debtors                                           0.00
                                                                       NET Receipts / Disbursements                 $215,747.77       $157,741.79


                            Net Receipts :         215,747.77
         Less Other Noncompensable Items :         218,667.81                                                          Net             Net                   Account
                                                ————————               TOTAL - ALL ACCOUNTS                          Receipts     Disbursements              Balances
                                 Net Estate :      $-2,920.04
                                                                       Checking # ******5066                         215,747.77         157,741.79             58,005.98

                                                                                                                    $215,747.77       $157,741.79             $58,005.98




 {} Asset reference(s)                                                                                                              Printed: 04/20/2020 10:16 AM    V.14.66
